Case 1:18-cv-01320-LMB-TCB Document 63 Filed 11/07/18 Page 1 of 7 PageID# 253




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 (Alexandria Division)



ANISH KAPOOR,

                                     Plaintiff,

                      v.
                                                      Civil Action No. 1:18-cv-1320 (LMB/TCB)
NATIONAL RIFLE ASSOCIATION OF
AMERICA,

                                   Defendant.


                           JOINT PROPOSED DISCOVERY PLAN

       Pursuant to Fed. R. Civ. P. 26, Local Civil Rule 26, and this Court’s Order of October 24,

2018, plaintiff Anish Kapoor (“Kapoor”) and defendant National Rifle Association of America

(“NRA,” together with Kapoor, the “Parties”), by counsel, state as follows for their Proposed

Discovery Plan.

       1.      Rule 26(f) Conference: The Parties conducted their Rule 26(f) conference on

November 2, 2018.

       2.      Fact Discovery:

               (a)     Plaintiff’s Position: Because “[d]iscovery may begin as of receipt of th[e

Court’s October 24, 2018] Order” (ECF 44), Kapoor intends to commence discovery immediately.

Kapoor understands that the NRA’s primary defense is fair use, on which it bears the burden of

proof. Although the NRA has indicated that it desires to stay (or limit significantly) discovery

pending resolution of a motion for summary judgment that it would file, under an expedited

briefing schedule, the issues identified by the NRA are factual in nature and will require discovery.


                                                  1
Case 1:18-cv-01320-LMB-TCB Document 63 Filed 11/07/18 Page 2 of 7 PageID# 254




Delaying discovery will only further delay the resolution of this litigation. Kapoor plans to fully

address the NRA’s (a) request for an expedited summary judgment briefing schedule, and (b)

request to stay (or limit significantly) discovery pending resolution of the NRA’s motion for

summary judgment after the NRA moves the Court for such relief or upon the Court’s request.


               (b)     Defendant’s Position: Case-dispositive fair use, de minimis use,

transformative use, and First Amendment issues at the core of this case do not require discovery.

The video at issue, which includes a brief image of Cloud Gate (or “the Bean”), and the political

message the video conveys speak for themselves and are not in dispute. Accordingly, the NRA

proposes that the parties brief summary judgment on these core issues in the very near future on

an expedited schedule set by the Court at the November 14, 2018 scheduling conference and that

discovery be stayed (or significantly limited) pending a ruling by the Court on summary judgment

as to these issues. The NRA believes that no amount of discovery will affect, or is even relevant

to, the fair use, de minimis use, transformative use, and First Amendment analysis. Discovery is

simply not necessary to resolve this case based on those issues, and Kapoor has not and cannot

articulate what discovery would be material to these case dispositive issues.


               (c)     If the Court agrees with Kapoor that discovery should proceed, all written

fact discovery shall be served sufficiently in advance of March 15, 2019, so that responses are due

on or before that date, and any notices of deposition shall be served sufficiently in advance of that

date so that discovery can be concluded by that date.


       3.      Initial Disclosures:     If discovery proceeds, the Parties propose that initial

disclosures be exchanged by November 16, 2018.




                                                 2
Case 1:18-cv-01320-LMB-TCB Document 63 Filed 11/07/18 Page 3 of 7 PageID# 255




        4.      Expert Disclosures: Pursuant to Local Civ. R. 26(D)(2), the Parties propose that,

if expert discovery proceeds, expert disclosures shall be served according to the following schedule

if discovery proceeds:

                         Kapoor’s Disclosures             January 15, 2019
                         NRA’s Disclosures                February 15, 2019
                         Rebuttal Disclosures             March 1, 2019

        5.      Joinder of Parties: At this time, the Parties do not anticipate joinder of additional

parties. However, should subsequent circumstances warrant it, the Parties agree to join parties by

December 12, 2018.

        6.      Amendment of Pleadings: At this time, the Parties do not anticipate amendment

of pleadings but reserve the right to move the Court for leave to amend should subsequent

circumstances warrant it by December 12, 2018.

        7.      Preservation of Discoverable Information:                The Parties understand the

importance of preserving discoverable information.             The Parties believe they have taken

reasonable steps to preserve all such information.

        8.      Electronically Stored Information: The parties agree to work in good faith to

coordinate the form and manner of production of electronically stored information.

        9.      Claims of Privilege & Protection of Trial Material: The Parties agree that the

party responding to discovery shall provide a privilege log for all responsive material for which a

privilege is claimed. The log will set forth the bates number (if any) of the privileged document

and identify (1) the date of its creation; (2) its author(s); (3) its recipient(s); and (4) a brief general

description of the document along with the basis for the privilege assertion, in accordance with

Fed. R. Civ. P. 26(b)(5)(A).        No party will be required to put on the privilege log any




                                                    3
Case 1:18-cv-01320-LMB-TCB Document 63 Filed 11/07/18 Page 4 of 7 PageID# 256




communications between a party and its counsel made in relation to this litigation if such

documents were generated on or after June 19, 2018.

       10.     Protective Order: In the event a protective order is deemed necessary, the Parties

shall work together to agree on a form.

       11.     Non-Waiver of Attorney-Client Privilege and Work Product Protection: The

Parties propose that pursuant to Fed. R. Evid. 502(d) and (e), the disclosure during discovery of

any communication or information (hereinafter “Document”) that is protected by the attorney-

client privilege (“Privilege” or “Privileged,” as the case may be) or work-product protection

(“Protection” or “Protected,” as the case may be), as defined by Fed. R. Evid. 502(g), shall not

waive the Privilege or Protection in the above-captioned case, or any other federal or state

proceeding, for either that Document or the subject matter of that Document, unless there is an

intentional waiver of the Privilege or Protection to support an affirmative use of the Document in

support of the party’s claim or defense, in which event the scope of any such waiver shall be

determined by Fed. R. Evid. 502(a)(2) and (3). The Parties intend that this proposed stipulated

order shall displace the provisions of Fed. R. Evid. 502(b)(1) and (2). That is, all disclosures not

made to support an affirmative use of the Document in support of a Party’s claim or defense shall

be regarded as “inadvertent,” and the producing party is hereby deemed to have taken “reasonable

steps to prevent disclosure,” regardless of any argument or circumstances suggesting otherwise.

Except when the requesting party contests the validity of the underlying claim of Privilege or

Protection (including a challenge to the reasonableness of the timing or substance of the measures

undertaken by the producing party to retrieve the Document(s) in question), any Document(s) the

producing party claims as Privileged or Protected shall, upon written request, promptly be returned

to the producing Party and/or destroyed, at the producing Party’s option. If the underlying claim



                                                 4
Case 1:18-cv-01320-LMB-TCB Document 63 Filed 11/07/18 Page 5 of 7 PageID# 257




of Privilege or Protection is contested, the Parties shall comply with, and the requesting Party may

promptly seek a judicial determination of the matter pursuant to, Fed. R. Civ. P. 26(b)(5)(B). In

assessing the validity of any claim of Privilege or Protection, the Court shall not consider the

provisions of Fed. R. Evid. 502(b)(1) and (2), but shall consider whether timely and otherwise

reasonable steps were taken by the producing Party to request the return or destruction of the

Document once the producing Party had actual knowledge of (i) the circumstances giving rise to

the claim of Privilege or Protection and (ii) the production of the Document in question.

“Destroyed” shall mean that the paper versions are shredded, that active electronic versions are

deleted, and that no effort shall be made to recover versions that are not readily accessible, such

as those on backup media or only recoverable through forensic means. “Actual knowledge” refers

to the actual knowledge of an attorney of record or other attorney with lead responsibilities in the

litigation (for example, lead counsel, trial counsel, or a senior attorney with managerial

responsibilities for the litigation).

        12.     Magistrate Judge: The Parties do not consent to trial before a magistrate judge at

this time.

        13.     Settlement: The Parties do not believe that a settlement is likely at this time.

However, the Parties are aware of the mediation resources provided by the presiding United States

Magistrate Judge and will contact chambers should the opportunity or need for mediation arise.

        14.     Discovery Limitations: The Parties do not propose any additional discovery

limitations not already provided by the Federal Rules of Civil Procedure, the Local Civil Rules,

and this Court’s October 24, 2018 Order.




                                                 5
Case 1:18-cv-01320-LMB-TCB Document 63 Filed 11/07/18 Page 6 of 7 PageID# 258




Dated: November 7, 2018                       Respectfully Submitted,

/s/ Justin M. Ganderson_______________        /s/ Anand V. Ramana (with permission)___
Justin M. Ganderson (VSB No. 71003)           Anand V. Ramana (VSB No. 65852)
COVINGTON & BURLING LLP                       VEDDER PRICE, P.C.
One CityCenter                                1401 I Street, N.W.
850 Tenth Street, NW                          Suite 1100
Washington, DC 20001                          Washington, D.C. 20005
Tel: (202) 662-5422                           Tel: (202) 312-3325
Email: jganderson@cov.com                     E-mail: aramana@vedderprice.com

David M. Given, Esq. (pro hac vice)           Attorney for National Rifle Association
Matthew J. Feaver, Esq. (pro hac vice)        of America
Nicholas A. Carlin, Esq. (pro hac vice)
PHILLIPS, ERLEWINE, GIVEN & CARLIN LLP
The Presidio
39 Mesa Street, Suite 201
San Francisco, California 94129
Tel: (415) 398-0900
Email: dmg@phillaw.com
Email: mjf@phillaw.com
Email: nac@phillaw.com

Attorneys for Anish Kapoor




                                          6
Case 1:18-cv-01320-LMB-TCB Document 63 Filed 11/07/18 Page 7 of 7 PageID# 259




                               CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2018, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will then send a notification of such filing (NEF)

to the following:

       Anand V. Ramana (VSB No. 65852)
       VEDDER PRICE P.C.
       1401 I Street, N.W.
       Suite 1100
       Washington, D.C. 20005
       Tel: (202) 312-3325
       aramana@vedderprice.com

       Blaine C. Kimrey                            Bryan K. Clark
       VEDDER PRICE P.C.                           VEDDER PRICE P.C.
       222 N. LaSalle St.                          222 N. LaSalle St.
       Ste 2600                                    Ste 2600
       Chicago, IL 60601                           Chicago, IL 60601
       Tel: (312) 609-7865                         Tel: (312) 609-7810
       Fax: (312) 609-5005                         Fax: (312) 609-5005
       bkimrey@vedderprice.com                     bclark@vedderprice.com

       Attorneys for National Rifle Association of America

       Jeffrey Scott Becker
       SWANSON MARTIN & BELL LLP
       330 N. Wabash Ave.
       Chicago, IL 60611
       Tel: (312) 321-8425
       jbecker@smbtrials.com

       Attorney for Anish Kapoor

                                                   /s/ Justin M. Ganderson
                                                   Justin M. Ganderson (VSB No. 71003)
                                                   COVINGTON & BURLING LLP
                                                   One CityCenter
                                                   850 Tenth Street, NW
                                                   Washington, D.C. 20001-4956
                                                   Tel: (202) 662-5422
                                                   Fax: (202) 662-6291
                                                   jganderson@cov.com

                                                   Attorney for Anish Kapoor
                                               7
